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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

AUSTIN CHAPMAN,                    :
                                   :
       Plaintiff,                  :
                                   :
v.                                 :    Case No. 3:15-CV-1519(RNC)
                                   :
PRICELINE GROUP, INC.,             :
                                   :
       Defendant.                  :

                            RULING AND ORDER

       Austin Chapman, on behalf of himself and others similarly

situated, brings this action against Priceline Group, Inc.

(“Priceline”), alleging that Priceline has breached its “Best

Price Guaranteed” promise with regard to purchases of tickets for

travel on Spirit Airlines.      The amended complaint alleges that

Priceline’s practices violate Connecticut statutory and common

law.    Priceline has moved to dismiss the amended complaint and

strike the class allegations from count one, which is brought

under the Connecticut Unfair Trade Practices Act (“CUTPA”).             For

reasons stated below, the motion to dismiss is denied and the

motion to strike is granted.

I.     Background

       The amended complaint alleges that Priceline has

“prominently represented and continues to represent a ‘Best Price

Guaranteed’ promise for airfare purchased through its website”

that guarantees to consumers the “lowest price on everything

[they] book[].”     (ECF No. 11) ¶ 2.     With regard to travel on

Spirit Airlines, however, Priceline secretly adds its own markup.
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Id. ¶¶ 3, 6.    As a result, “Spirit Airlines flights are always

cheaper when purchased through Spirit Airlines’ website than when

purchased through Priceline.com.”       Id. ¶ 4.

     These allegations are premised on a “Best Price Guaranteed”

representation contained in the “Priceline Terms and Conditions”

located on the Priceline website, Priceline.com.        Clicking on the

words "Best Price Guaranteed" results in the appearance of a

statement in bold letters that Priceline “guarantee[s] the lowest

price on everything you book.”     Id. ¶ 33.    The website goes on to

state: “Find a lower price, we’ll refund you 100% of the

difference.    Book an Express Deal, we’ll refund you 200% of the

difference.    Guaranteed.    The Priceline.com Best Price Guarantee

applies to every Air, Hotel, Rental Car, Cruise and Vacation

Package reservation sold on priceline.com!”        Id. ¶ 34.

     Plaintiff alleges that reasonable consumers who take

advantage of Priceline’s best price guarantee “do not think they

are merely getting the right to invoke a price-matching scheme.”

Id. ¶ 38.   Rather, they “understand the Guarantee and

corresponding price-match policy . . . to indicate that Priceline

actually is selling the fares at the lowest available price - or,

at the very least, that Priceline is not knowingly marking up

those prices.”    Id. ¶ 35.   Plaintiff alleges that Priceline was

aware of this understanding, id. ¶ 37, but failed to disclaim its

“Best Price Guaranteed” policy with respect to Spirit Airlines


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even though it knew Spirit Airlines flights were available for a

lower fare on Spirit Airlines’ website, id. ¶¶ 40-41.

     The amended complaint alleges that plaintiff purchased

Spirit Airlines tickets through Priceline in April 2014, April

2015, and July 2015.1       Though he “believed he was truly getting

the best price for the air travel on Spirit Airlines,” id. ¶ 43,

“[t]hose same tickets . . . were at that very moment offered for

sale for significantly less on Spirit.com.”           Id. ¶ 45.    Plaintiff

alleges that he was “aware” of the “Best Price Guaranteed”

promise and “would not have purchased his tickets on

Priceline.com had he known they had been marked up over the price

for which they were being sold at the same time on Spirit

Airlines’ website.”       Id. ¶ 47.

     Plaintiff seeks to bring this action on behalf of a class of

“[a]ll natural persons in the United States of America who,

within the applicable statute of limitations preceding the filing

of this action to the date of class certification, purchased a

ticket for a flight on Spirit Airlines, Inc. through Priceline.”

Id. ¶ 14.     The amended complaint contains five causes of action,

all on behalf of the class: violation of CUTPA, breach of

contract, breach of the covenant of good faith and fair dealing,


     1
       It appears that the tickets were purchased on the website
KAYAK.com, which is operated by KAYAK Software Corporation.
KAYAK is a subsidiary of Priceline, and the Priceline Terms and
Conditions, including the terms of the “Best Price Guaranteed”
policy, govern purchases on KAYAK.com.

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breach of express warranty and unjust enrichment.         Plaintiff

seeks restitution of fares paid to Priceline in excess of the

lowest price available at the time of purchase, disgorgement of

profits, actual and punitive damages, prejudgment interest, costs

and fees.

II.   Discussion

      A.    Motion to Dismiss

            1.     Airline Deregulation Act Preemption

      Priceline argues that the CUTPA, breach of duty of good

faith and fair dealing and unjust enrichment claims in counts

one, three, and five of the complaint are preempted by the

Airline Deregulation Act (“ADA”).       Plaintiff responds that

Priceline is not the type of entity the ADA was intended to

protect and, even if it were, the claims do not fall within the

scope of the ADA’s preemption provision.        I conclude that even if

Priceline may rely on the ADA, it has not shown a sufficient

connection between its Best Price Guaranteed promise and the

conduct of Spirit Airlines or any other air carrier to support

preemption of the state law claims.

      Under the Supremacy Clause, U.S. Const. Art. VI, cl. 2,

“state law that conflicts with federal law is ‘without effect.’”

Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 516 (1992)

(quoting Maryland v. Louisiana, 451 U.S. 725, 746 (1981)).             “In

light of principles of federalism, there is . . . a presumption


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against preemption,” In re Jetblue Airways Corp. Privacy Litig.,

379 F. Supp. 2d 299, 312 (E.D.N.Y. 2005), and the party arguing

in favor of preemption bears a heavy burden.       See Abdu-Brisson v.

Delta Airlines, Inc., 128 F.3d 77, 83 (2d Cir. 1997).         “In

deciding whether a federal law pre-empts a state statute,” the

court must “ascertain Congress’ intent in enacting the federal

statute at issue.”    Morales v. Trans World Airlines, Inc., 504

U.S. 374, 419 (1992) (quoting Metro. Life Ins. Co. v.

Massachusetts, 471 U.S. 724, 738 (1985)).

     The ADA’s preemption provision reads as follows: “[A] State,

political subdivision of a State, or political authority of two

or more States may not enact or enforce a law, regulation, or

other provision having the force and effect of law related to a

price, route, or service of an air carrier.”       49 U.S.C.

§ 41713(b)(4)(A).    The term “related to” means “having a

connection with or reference to.” Morales, 504 U.S. at 384.

Though this construction suggests that the statute has a broad

reach, state law is not preempted unless it has “a significant

impact” on airlines’ behavior with respect to prices, routes, or

services.   Id. at 390.

     Broadly speaking, plaintiff’s state law claims do involve

prices at which Spirit Airlines tickets are sold.        But this does

not, by itself, support ADA preemption.      Priceline must show that

enforcing the state laws on which plaintiff relies would have a


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significant effect on the “price, route or service of an air

carrier.”     49 U.S.C. § 41713(b)(1) (emphasis added); see also

Goodspeed Airport, LLC v. E. Haddam Inland Wetlands &

Watercourses Comm'n, 681 F. Supp. 2d 182, 209 (D. Conn. 2010),

aff'd, 634 F.3d 206 (2d Cir. 2011).

     Plaintiff alleges that “Priceline adds its own markup” on

tickets for travel on Spirit Airlines.          Am. Compl. (ECF No. 11)

¶ 3 (emphasis added).       If the disputed markup violates state law,

as plaintiff claims, it is not apparent that enforcing the law

against Priceline would cause Spirit Airlines to change its

pricing practices.       Thus, the claims are not preempted.2

             2.    Failure to State a Claim

     Priceline argues that the complaint must be dismissed

because it fails to state a claim on which relief may be granted.


     2
       Gordon, which Priceline cites in its supplemental
memorandum, is not to the contrary. In Gordon, the defendants
were technology providers who acted as intermediaries between
airlines and travel providers. Gordon v. Amadeus IT Group, S.A.,
194 F. Supp. 3d 236, 239-40 (S.D.N.Y. 2016). The complaint
alleged that airlines “rely heavily” on the defendants “to
disseminate information to travel agents,” and that the
defendants “collectively control nearly the entire American
market” for such services, “receiving approximately $2.4 billion
in fees from airlines annually.” Id. at 240. The plaintiffs
asserted that the defendants used their market power to charge
airlines “supracompetitive fees,” causing an “increase [in]
airline distribution costs, which in turn raise[d] fares for all
travelers.” Id. at 241. In other words, the complaint described
a clear and substantial relationship between the defendants’
conduct and the airlines’ behavior with respect to setting the
price of their product. Here, in contrast, the complaint
contains no allegations about the relationship between
Priceline’s conduct and Spirit Airlines’ prices.

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For reasons that follow, I conclude that the allegations of the

amended complaint are sufficient to support each of the claims.

      To survive a motion to dismiss under Federal Rule of Civil

Procedure Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’”           Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).     “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged.”     Id. (internal quotation marks and citation

omitted).    This standard requires the plaintiff to show “more

than a sheer possibility that a defendant has acted unlawfully.”

Id.

      Review of a complaint under Rule 12(b)(6) occurs in two

steps.    First, the court must separate the complaint's well-

pleaded factual allegations from its legal conclusions.              Well-

pleaded facts are accepted as true and viewed in the light most

favorable to the plaintiff.      Id.       “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory

statements,” must be disregarded.           Id.   Then, the court must

determine whether the well-pleaded facts support a reasonable

inference that the plaintiff is entitled to relief.            Id.




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                i.   CUTPA

     Priceline argues that the CUTPA claim fails for two reasons:

the “Best Price Guaranteed” policy is not unfair or deceptive

under regulations promulgated by the Connecticut Department of

Consumer Protection; and the plaintiff’s allegations do not

satisfy the heightened pleading requirement of Federal Rule of

Civil Procedure 9(b).

     To state a claim under CUTPA, plaintiff must allege that

Priceline engaged in “unfair or deceptive acts or practices in

the conduct of trade or commerce.”      Conn. Gen. Stat.

§ 42-110b(a).   A practice that is consistent with regulations

issued by the Department of Consumer Protection is not unfair or

deceptive under CUTPA.    See Artie's Auto Body, Inc. v. Hartford

Fire Ins. Co., 317 Conn. 602, 625-26, 119 A.3d 1139, 1151-52

(2015).   Representations similar to the ones at issue here are

covered by the following regulation:

     Advertisements frequently contain representations of
     guarantees that assure prospective purchasers that savings
     may be realized in the purchase of the advertiser's products
     or services.

     Some typical advertisements of this type are “Guaranteed to
     save you 50%,” “Guaranteed never to be undersold,”
     “Guaranteed lowest price in town.”

     These advertisements should include a clear and conspicuous
     disclosure of what the guarantor will do if the savings are
     not realized, together with any time or other limitations
     that he may impose.

     Example: “Guaranteed lowest price in town” might be
     accompanied by the following disclosure: “If within 30 days

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     from the date that you buy a sewing machine from me, you
     purchase the identical machine in town for less and present
     a receipt therefor to me, I will refund your money.”

Conn. Agencies Regs. § 42-110b-6.

     Assuming the content of Priceline’s website with regard to

the best price guarantee passes muster under this regulation,

that is not the end of the matter.         Plaintiff argues that “even

when the ‘fine print’ is read in conjunction with the prominent

‘best price’ representation, the overall impression is still that

Priceline is not actively adding surcharges.”          Pl.'s Opp'n (ECF

No. 38) at 22.     I agree that this is a plausible interpretation

of the Priceline Terms and Conditions.         The allegations in the

complaint are therefore sufficient to state a claim under CUTPA

at least insofar as the claim is based on Priceline’s allegedly

deceptive addition of a secret markup to the price of Spirit

Airlines tickets.

     Under Rule 9(b), “circumstances constituting fraud or

mistake” must be stated “with particularity.”          Fed. R. Civ. P.

9(b).    This heightened pleading standard applies “when ‘the

wording and imputations of the complaint are classically

associated with fraud.’”       Rombach v. Chang, 355 F.3d 164, 172 (2d

Cir. 2004).     “It is well established that CUTPA claims need not

contain the elements of fraud.        Thus, CUTPA claims brought in

federal court only must satisfy Rule 9(b) if such claims are

based on fraud allegations.”        Tatum v. Oberg, 650 F. Supp. 2d


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185, 195 (D. Conn. 2009) (citations omitted).        Moreover, the

“allegations of fraudulent conduct” must “form a necessary

foundation” for the claim.     Milo v. Galante, No. 3:09CV1389 JBA,

2011 WL 1214769, at *8 (D. Conn. Mar. 28, 2011).

     The amended complaint makes numerous references to fraud and

allegedly fraudulent conduct.     See Am. Compl. (ECF No. 11) ¶¶ 5,

32, 40, 52 (“Defendant used . . . deception, fraud, false

pretense, false promises, and misrepresentation, in violation of

CUTPA . . .”), 53 (“As a result of Defendant's fraudulent and

unfair business practices . . .”), 54 (Defendant's actions

“constitute a fraud . . .”), 56.        But it is unnecessary for

plaintiff to prove that Priceline committed fraud in order to

prevail on his claim based on the markup.        Accordingly, the

heightened pleading standard of Rule 9(b) does not apply.

                ii.   Breach of Contract and Breach of Warranty

     Priceline moves to dismiss the breach of contract and breach

of express warranty claims in counts two and four on the ground

that plaintiff has failed to identify a contractual provision or

express warranty that has been breached.        Priceline argues that,

by its terms, the “Best Price Guaranteed” policy is a

price-matching scheme, not a promise that the fares advertised on

the website are necessarily the lowest available.         See, e.g., Ex.

C3 to Janush Decl. (ECF Nos. 32-13, 32-14).        Priceline points to

the language of the Priceline Terms and Conditions, which include


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an express disclaimer to the contrary.          See Ex. A2 to Janush

Decl. (ECF No. 32-9) at 6; Ex. B2 to Janush Decl. (ECF No. 32-10)

at 6.    Plaintiff responds that, at a minimum, reasonable

consumers interpret the Priceline Terms and Conditions as

containing a promise not to intentionally mark-up prices.

     As to both the breach of contract and breach of warranty

claims, the issue is one of contract interpretation.            The parties

appear to agree that Connecticut law applies.           See Ex. B2 to

Janush Decl. (ECF No. 32-10) at 8 (“To the extent permitted by

applicable law, the internal laws of the State of Connecticut

shall govern the performance of this Agreement . . . .”).             Under

Connecticut law, “the question of contract interpretation” is

generally a question of fact unless “there is definitive contract

language” that allows the court to determine the parties’ intent

as a matter of law.       Poole v. City of Waterbury, 266 Conn. 68,

88, 831 A.2d 211, 224 (2003).        Accordingly, the first step in the

analysis is to “ascertain whether the relevant language in the

agreement is ambiguous. . . . [A]ny ambiguity in a contract must

emanate from the language used in the contract rather than from

one party's subjective perception of the terms.”           O'Connor v.

City of Waterbury, 286 Conn. 732, 743, 945 A.2d 936, 946 (2008)

(quoting Ramirez v. Health Net of the Ne., Inc., 285 Conn. 1,

13-14, 938 A.2d 576, 585 (2008)).          “Where the language of the

contract is clear and unambiguous, the contract is to be given


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effect according to its terms.     A court will not torture words to

import ambiguity where the ordinary meaning leaves no room for

ambiguity.”   286 Conn. at 744, 945 A.2d at 946 (quoting Montoya

v. Montoya, 280 Conn. 605, 612, 909 A.2d 947, 953 (2006)).

     The breach of contract and breach of warranty claims in this

case implicate a number of contractual provisions.         The first is

a clause in the Terms and Conditions entitled “Best Price

Guarantee and Big Deal Guarantee,” which provides: “We want you

to pay the lowest price possible when you use one of our travel

products.”    See Ex. A2 to Janush Decl. (ECF No. 32-9) at 10; Ex.

B2 to Janush Decl. (ECF No. 32-10) at 10.       This provision

includes a hyperlink to a page that sets out “the terms and

conditions of our Best Price Guarantee.”       See id.

     During the relevant time period, the linked page contained

three different versions of the “Best Price Guaranteed” policy.

The version viewable in July 2015 stated: “WE GUARANTEE THE

LOWEST PRICE ON EVERYTHING YOU BOOK.       Find a lower price, we’ll

refund you 100% of the difference.”       Ex. A3 to Janush Decl. (ECF

No. 32-11).   The version viewable in March 2015 stated: “The

Priceline Negotiator’s BEST PRICE GUARANTEE.        Nobody out-deals

the Negotiator.   Nobody.   If you find a lower price online for

the same itinerary we’ll refund 100% of the difference.”          Ex. B3

to Janush Decl. (ECF No. 32-12).        The version viewable in April

2014 stated: “The Priceline Negotiator’s BEST PRICE GUARANTEE.


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Your satisfaction Is His Obsession.         The Priceline Negotiator

here.    I’m going to make this short and sweet.         Nobody out-deals

the Negotiator.      Nobody.   How sure am I?     So sure, I’m going to

make you a special promise and it applies to every priceline.com

booking you make.      That goes for airline tickets, hotel rooms,

rental cars, cruises, vacation packages and activities.            If you

find a lower published price for the exact same itinerary, within

24 hours of booking, Priceline will: Refund you 100% of the

difference, or cancel your reservation so you can rebook at the

lower price.     Plus we’ll give you a $50 Priceline Vacation

Package Coupon for your next trip.”         Ex. C3 to Janush Decl. (ECF

No. 32-13).

     In addition, it is necessary to consider a provision

entitled “Disclaimer of Warranties,” which provides, in relevant

part: “WITHOUT LIMITING THE FOREGOING, NO WARRANTY OR GUARANTEE

IS MADE . . . THAT A USER WILL RECEIVE THE LOWEST AVAILABLE PRICE

FOR GOODS AND/OR SERVICES AVAILABLE THROUGH THIS SITE.”            Ex. B2

to Janush Decl. (ECF No. 32-10) at 5.

     I agree with Priceline that the quoted provisions,

especially the last, make it clear to a reasonable consumer that

the “Best Price Guaranteed” policy is a price-matching scheme,

not an absolute promise to provide the best price on all

purchases.     As discussed above, however, it is plausible that a

reasonable consumer would interpret the contract language to


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include a promise not to add hidden surcharges.        Cf. In re Online

Travel Co. (OTC) Hotel Booking Antitrust Litig., 997 F. Supp. 2d

526, 545 (N.D. Tex. 2014).     To the extent plaintiff’s breach of

contract and breach of warranty claims rely on this

interpretation of the Terms and Conditions, they withstand the

motion to dismiss.

                iii. Duty of Good Faith and Fair Dealing

     Priceline argues that the claim in count three, alleging

breach of the implied duty of good faith and fair dealing, must

be dismissed because the duty plaintiff seeks to impose on

Priceline is contrary to the express terms of the contract.

“The covenant of good faith and fair dealing presupposes that the

terms and purpose of the contract are agreed upon by the parties

and that what is in dispute is a party’s discretionary

application or interpretation of a contract term.”         Hoskins v.

Titan Value Equities Grp., Inc., 252 Conn. 789, 793, 749 A.2d

1144, 1146 (2000) (quoting Neiditz v. Housing Auth., 43 Conn.

Supp. 283, 294, 654 A.2d 812 (1992), aff’d, 231 Conn. 598, 651

A.2d 1295 (1995)).   “Most courts decline to find a breach of the

covenant apart from a breach of an express contract term.”

Landry v. Spitz, 102 Conn. App. 34, 47, 925 A.2d 334, 344 (2007).

In other words, “the claim [that the covenant has been breached]

must be tied to an alleged breach of a specific contract term,

often one that allows for discretion on the part of the party


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alleged to have violated the duty.”      Id. (quoting 23 Samuel

Williston, Contracts § 63:22 (4th ed. 2002)).        In addition, the

plaintiff must allege that the defendant acted in bad faith.

Colon v. Commonwealth Annuity & Life Ins. Co., No. 3:08-CV-00079

(PCD), 2008 WL 2185923, at *2 (D. Conn. May 22, 2008).         “Bad

faith in general implies both actual or constructive fraud, or a

design to mislead or deceive another, or a neglect or refusal to

fulfill some duty or some contractual obligation, not prompted by

an honest mistake as to one's rights or duties, but by some

interested or sinister motive.     Bad faith means more than mere

negligence; it involves a dishonest purpose.”        Id. (quoting

Habetz v. Condon, 224 Conn. 231, 237-38, 618 A.2d 501, 504

(1992)).

     As just discussed, plaintiff plausibly alleges that

Priceline’s Terms and Conditions included a promise not to mark-

up ticket prices.     Insofar as the bad faith claim is premised on

Priceline’s breach of this promise, the claim is sufficiently

tied to the terms of the contract and does not seek to impose a

duty on Priceline contrary to the contract’s express terms.

Moreover, plaintiff may be able to prove that Priceline’s alleged

practice of secretly adding surcharges to Spirit Airlines tickets

was not motivated by an honest mistake about its duties.

                iv.    Unjust Enrichment

     Finally, Priceline argues that plaintiff’s unjust enrichment


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claim should be dismissed because he cannot plead both the

existence of an enforceable contract and a claim of unjust

enrichment.    Plaintiff responds that he should be able to plead

these claims in the alternative.        Cases can be found supporting

both approaches.    Compare Edwards v. N. Am. Power & Gas, LLC, 120

F. Supp. 3d 132, 148 (D. Conn. 2015) (dismissing unjust

enrichment claim without prejudice in light of claim for breach

of contract) with Intermed, Inc. v. Alphamedica, Inc., No.

CIVA3:09CV00762(JCH), 2009 WL 5184195, at *7 (D. Conn. Dec. 21,

2009) (permitting both claims to be pleaded in the alternative).

     Plaintiff appears to concede that the contract governs his

recovery.    However, I see no reason to dismiss the unjust

enrichment claim at this point in the litigation.         Accordingly,

the claim will remain in the case.

     B.     Motion to Strike

     Priceline moves to strike the nationwide class allegations

from the CUTPA claim on the ground that the plaintiff - a Texas

resident who was injured, if at all, in Texas - may not

represent a class under CUTPA.     Plaintiff responds that Federal

Rule of Civil Procedure 23 must be followed.

     Under CUTPA, “[a]ny person who suffers any ascertainable

loss of money or property, real or personal, as a result of the

use or employment of” unfair or deceptive practices is entitled

to relief.    Conn. Gen. Stat. § 42-110g(a).     “Persons entitled to


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bring an action” under this provision “may, pursuant to rules

established by the judges of the Superior Court, bring a class

action on behalf of themselves and other persons similarly

situated who are residents of [Connecticut] or injured in

[Connecticut].”   Conn. Gen. Stat. § 42-110g(b).       “[T]he statutory

scheme permits out of state residents to bring a CUTPA action

against a defendant located in Connecticut notwithstanding the

locus of injury.”   Metro. Enter. Corp. v. United Techs. Int'l,

Corp., Pratt & Whitney Large Commercial Engines Div., No.

3:03CV1685 (JBA), 2004 WL 1497545, at *4 (D. Conn. June 28,

2004).   But a nonresident “suffering ascertainable loss outside

of Connecticut from unlawful conduct occurring inside the state

. . . may not bring a class action because such plaintiff could

not be representative of class members with the statutorily

required in-state residency or injury characteristics.”         Id.

     Plaintiff contends that under Shady Grove Orthopedic

Associates, P.A. v. Allstate Insurance Co., 559 U.S. 393 (2010),

the requirements of Rule 23 control whether this suit can proceed

as a class action rather than CUTPA’s requirement that the class

representative be a resident of the state.       Conn. Gen. Stat.

§ 42-110g(b).   Though there was no majority opinion in Shady

Grove, five Justices agreed that Rule 23 conflicted with New York

Civil Practice Rule § 901(b), which precludes a suit to recover a

statutory “penalty” from proceeding as a class action.         Given


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that conflict, Rule 23 applied unless it exceeded the substantive

rights limitation in the Rules Enabling Act, which provides that

rules “shall not abridge, enlarge or modify any substantive

right.”   28 U.S.C. § 2072(b).    The five Justices disagreed on the

meaning of the substantive rights limitation.        Writing for a

plurality of four, Justice Scalia stated that whether a rule

falls within the limitation depends on “what the rule itself

regulates: If it governs only ‘the manner and the means’ by which

the litigants’ rights are ‘enforced,’ it is valid; if it alters

‘the rules of decision by which [the] court will adjudicate

[those] rights,’ it is not.”     Id. at 407 (quoting Miss. Publ’g

Corp. v. Murphee, 326 U.S. 438, 446 (1946)).        Rejecting a purely

procedural test, Justice Stevens stated that “[a] federal rule

. . . cannot govern a particular case in which the rule would

displace a state law that is procedural in the ordinary sense of

the term but is so intertwined with a state right or remedy that

it functions to define the scope of the state-created right.”

Id. at 423.

     The Second Circuit has not explicitly endorsed either

approach.   However, a number of courts within the Circuit have

applied Justice Stevens’ “intertwined” test.        See Fraiser v.

Stanley Black & Decker, Inc., 109 F. Supp. 3d 498, 505 (D. Conn

2015); In re Dig. Music Antitrust Litig., 812 F. Supp. 2d 390,

415 (S.D.N.Y. 2011) (“Justice Stevens’ approach does, however,


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form the ‘narrowest grounds’ in Shady Grove” (quoting In re

Wellbutrin XL Antitrust Litig., 756 F. Supp. 2d 670, 675 (E.D.

Pa. 2010) (internal quotation marks omitted)); Leonard v. Abbott

Labs., Inc., No. 10-CV-4676 ADS WDW, 2012 WL 764199, at *12

(E.D.N.Y. Mar. 5, 2012) (“[T]he Court agrees with the majority of

district and circuit courts that have found Justice Stevens

concurring opinion was on the ‘narrowest grounds,’ and therefore

is the controlling opinion.”).

     Courts applying the “intertwined” test have held that Rule

23 does not displace restrictions on class actions contained in

state consumer protection statutes.      See Friedman v. Dollar

Thrifty Auto. Group., Inc., No. 12 CV 02432 WYD KMT, 2015 WL

8479746, at *4 (D. Colo. Dec. 10, 2015)(collecting cases).             The

question presented here – whether Rule 23 displaces CUTPA’s

requirement that a class representative be a resident of the

state – was addressed in In re Trilegiant Corp., Inc., 11 F.

Supp. 3d 82 (D. Conn. 2014).     Judge Bryant concluded that CUTPA’s

requirement of an in-state class representative is not displaced

because it serves to limit the right to bring a CUTPA class

action to a subset of CUTPA plaintiffs and is thus substantive

rather than procedural.    Id. at 119.    The issue came up again in

Fraiser v. Stanley Black & Decker, Inc., 109 F. Supp. 3d 498 (D.

Conn 2015), where Judge Young, sitting by designation, found no

reason to depart from the analysis in In re Trilegiant.         See 109


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F. Supp. 3d at 506.

     Plaintiff argues that the analysis in In re Trilegiant

relies on an “arbitrary and unsupported constitutional ‘test.’”

Pl.'s Opp'n (ECF No. 39) at 3.     He asks me to follow the Eleventh

Circuit's analysis in Lisk v. Lumber One Wood Preserving, LLC,

792 F.3d 1331 (11th Cir. 2015).      The issue there was whether a

provision of the Alabama Deceptive Trade Practices Act (“ADTPA”)

prohibiting private individuals from bringing a class action was

displaced by Rule 23.    Finding no meaningful distinction between

that prohibition and New York Civil Practice Rule § 901(b) - the

prohibition on statutory-penalty class actions at issue in Shady

Grove - the Court held that Rule 23 displaced the Alabama

statute.   Id. at 1335-36.

     I am not persuaded that I should follow Lisk to reach a

decision at odds with two prior decisions in this District that

are directly on point.    In the absence of guidance from the Court

of Appeals concerning the status of the “intertwined” test and

when the test is met, I will follow the prior decisions in this

District rather than Lisk.3    In doing so, I find it significant

     3
       Judge Underhill recently declined to adopt the
“intertwined” test, reasoning that while “the Stevens concurrence
is ‘narrower’ than the position of the other Justices . . . in
the sense that it would reject state procedural rules in fewer
cases,” it was not the narrowest logic in Shady Grove “because it
is not a logical subset of the opinion of the other Justices
. . . [who] explicitly reject [the] rationale” that state
procedural bars may block causes of action in federal court. In
re Aggrenox Antitrust Litig., No. 3:14-md-2516 (SRU), 2016 WL
4204478, at *5 (D. Conn. Aug. 9, 2016). Judge Underhill

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that CUTPA’s requirement of an in-state class representative is a

prominent part of the statutory scheme, unlike New York Civil

Practice Rule § 901(b), which is part of a procedural law that

applies to class actions generally.      Insofar as Lisk may be read

to suggest that this factor is unimportant to the “intertwined”

analysis, I respectfully disagree.

III. Conclusion

     Accordingly, the motion to dismiss (ECF No. 31) is hereby

denied and the motion to strike (ECF No. 33) is granted.

     So ordered this 30th day of September 2017.



                                                 /s/RNC
                                             Robert N. Chatigny
                                        United States District Judge




concludes that “where a state procedural rule is part of the
state’s framework of substantive rights, there simply is no
controlling Supreme Court holding.” Id. at *6. Though Judge
Underhill may be right, I follow the prior cases in this District
that are directly on point and conclude that Rule 23 does not
displace the CUTPA requirement at issue.


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